                    Case 1:14-cr-00256-LJO-SKO
                                  UNITED STATESDocument 18 Filed
                                                   DISTRICT      02/09/15 Page 1 of 1
                                                              COURT
                                    EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                              )
               v.                                             )   1:14-CR-256 LJO-SKO
                                                              )
                                                              )
CHRISTOPHER COX
                               APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                      (X) Ad Prosequendum                                  ( ) Ad Testificandum.
Name of Detainee:            CHRISTOPHER COX
Detained at (custodian):     FRESNO COUNTY JAIL
Detainee is:        a.)   (X ) charged in this district by:
                                 (X ) Indictment                        ( ) Information      ( ) Complaint
                                 Charging Detainee With:          18 U.S.C. ' 472 Passing Counterfeit U.S.
                                                                  Obligations
         or         b.)   ( ) a witness not otherwise available by ordinary process of the Court
Detainee will: a.)        (X) return to the custody of detaining facility upon termination of proceedings
       or     b.)         ( ) be retained in federal custody until final disposition of federal charges, as a sentence is
                          currently being served at the detaining facility
Appearance is necessary forthwith in the Eastern District of California.
                                   Signature:/s/Mia A. Giacomazzi
                                   Printed Name & Phone No:MIA A . GIACOMAZZI/ 559-497-4000
                                   Attorney of Record for:     United States of America
                                        WRIT OF HABEAS CORPUS
                       (X) Ad Prosequendum                                  ( ) Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the
above-named custodian.
                                                                                /s/ Gary S. Austin
Date February 9, 2015                                                    United States Magistrate Judge
Please provide the following, if known:
 AKA(s) (if applicable):                                                                       Male X   Female

 Booking or CDC #:                  0915610                                                    DOB:
                                    Release Date: 08/29/2016                                   Race:
                                                                                               FBI #:   206739CB1
 Facility Address:                  1225 M Street Fresno, CA 93721
 Currently Incarcerated For:
                                                    RETURN OF SERVICE

Executed on                   by
                                                                                 (Signature)




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Form Crim-48
